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               FORBES      BUSINESS


               BREAKING


               Here’s What We Know About
               Prince Harry And Meghan
               Markle’s $135 Million Deals
               Carlie Porterfield Former Staff
               I cover breaking news.

               Jonathan Ponciano Forbes Staff


                                                                                             Jan 19, 2023, 12:41pm EST



                          Listen to article 8 minutes



               Updated Jan 19, 2023, 05:25pm EST



               TOPLINE Prince Harry and Meghan Markle have been fast at work

               unveiling a slew of ventures since they shocked the world by
               stepping down as working royals three years ago, launching into
               books—with Harry’s bestselling Spare shattering records—along
               with movies, television and podcasts that have an estimated value
               of more than $135 million.




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               Prince Harry, Duke of Sussex, and Meghan, Duchess of Sussex, arrive at the 2022 Robert F.
               Kennedy ... [+] AFP VIA GETTY IMAGES


               KEY FACTS


               • Harry is rumored to have received a $20 million advance for his
                    latest venture, controversial tell-all Spare, which debuted earlier
                    this month and sold more than 1.4 million copies on its release
                    day, surpassing the 887,000 first-day copies shifted by former
                    President Barack Obama’s 2020 memoir to become the fastest-
                    selling nonfiction book of all time, according to Guinness World
                    Records.



               • Still perhaps their most lucrative deal yet, the couple signed a
                    five-year, $100 million contract with Netflix in September 2020
                    to produce documentaries, docuseries, feature films, scripted
                    shows and children’s programming.



               • In 2020, the couple splurged on a $14.7 million home in the posh
                    seaside town of Montecito, California, cozying up alongside
                    moguls and celebrities such as Oprah Winfrey, Ellen DeGeneres
                    and Ariana Grande in a leafy residential area blocked to the
                    public.

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               • In December 2020, the former working royals penned a three-
                    year podcasting deal with Spotify worth between $15 million to                                                         BETA

                    $18 million, according to industry sources, but some reports
                    indicate it could be as much as $25 million.




               Prince Harry’s memoir, ‘Spare,’ goes on display in a branch of WHSmith opposite Windsor
               Castle on ... [+] GETTY IMAGES



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               BOOKS

               In the U.S. alone, Spare sold 629,300 print copies its first week on
               shelves (falling short of Obama’s record, with 831,300 copies),
               according to figures compiled by NPD Bookscan, which monitors
               roughly 85% of the domestic print market. Spare’s publisher,

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               Penguin Random House, said Harry planned to support British
               charities with donations from the book’s proceeds, including
                                                                                                                                           BETA
               roughly $671,000 to nonprofit WellChild and $1.5 million already
               given to Sentebale, an organization he cofounded to help children
               in Southern Africa at risk of HIV.

               Markle, too, has dabbled in publishing, though the works have
               netted much less: In 2021, she released a children's picture book
               entitled The Bench that reportedly landed her an advance of up to
               $618,000 (500,000 British pounds). The 167-word book, which
               features an illustration of the couple’s then newborn daughter,
               Lilibet Diana, landed on the New York Times bestsellers list, but
               it’s unclear how much it ultimately sold. In 2018, Markle also
               published a cookbook, and donated all the proceeds to a West
               London community's cooking group.




               Meghan, Duchess of Sussex, and Prince Harry, Duke of Sussex (accompanied by a film
               crew), meet ... [+] GETTY IMAGES


               TV & ENTERTAINMENT

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               So far under their Netflix deal, Harry and Markle have released two
               docuseries, Live to Lead, which features interviews with world
                                                                                                                                           BETA
               leaders and celebrities including Ruth Bader Ginsburg and Gloria
               Steinem, as well as Harry & Meghan, the buzzy tell-all that
               shattered Netflix documentary viewership records upon its release
               in December, but also garnered waves of criticism, with some
               reviewers calling the series a "tedious, narcissistic wallow.” An
               animated kids show, named Pearl, was announced but then
               scrapped in May before release, but Heart of Invictus, a docuseries
               following a group of injured service members preparing for the
               Invictus Games, is slated for release later this year. Meanwhile, the
               couple’s first Spotify podcast, Markle’s Archetypes, briefly
               surpassed The Joe Rogan Experience as Spotify’s top podcast when
               it was released in August.

               Before stepping down as a working royal, Harry announced in 2019
               he would executive produce a mental health series for Apple TV+
               alongside Oprah Winfrey. Because of pandemic delays, the show
               didn’t premiere until May 2021. Nevertheless, it’s unclear if Harry
               made any profit from the series, given that senior working
               members of the royal family cannot accept money from commercial
               projects.




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               View of the gate of the estate where Prince Harry and Meghan Markle have their house, in
               Montecito, ... [+] AFP VIA GETTY IMAGES


               REAL ESTATE

               Despite its steep $14.7 million price tag, the couple’s Montecito
               home seems a steal compared to the $25.3 million its former
               owner, Russian magnate Sergey Grishin, paid in 2009. They took
               out a $10 million mortgage for the home, but it’s unclear, based on
               available records, whether the loan has been paid off. According to
               the Santa Barbara assessors’ office, the 14,500-square-foot estate
               sits on more than 5 acres and comes with seven bedrooms and 13.5
               bathrooms.




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               Members of the royal family stand on the balcony of Buckingham Palace to view a flypast
               to mark the ... [+] WIREIMAGE


               ROYAL INHERITANCE

               After stepping down as working royals, Harry and Markle largely
               relied on Harry’s inheritance from his late mother, Princess Diana,
               estimated at $10 million. Representatives told Forbes in 2021 that
               Harry was not a beneficiary of any of the $100 million left to the
               royal family by his great-grandmother, the Queen Mother. It’s
               unclear if Harry was left any money from his grandmother the late
               Queen Elizabeth II, whose will is expected to stay sealed for at least
               90 years.




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               Harry and Meghan wave from the Ascot Landau Carriage during their carriage procession
               on the Long ... [+] AFP VIA GETTY IMAGES


               KEY BACKGROUND

               Harry and Markle no longer receive money from Harry’s royal
               relatives. The pair announced in early 2020 they would step down
               as working members of the royal family, and they no longer receive
               money from the royal family. Previously, the vast majority of the
               couple’s expenses—which Forbes estimated to be about $800,000
               annually—were paid for by Harry’s father, now King Charles III,
               through the Duchy of Cornwall, which last year netted Charles
               some $27 million. (After Charles became king, the Prince of Wales
               title and the duchy were passed to Harry’s older brother, Prince
               William). As the new monarch after Elizabeth II’s death last year,
               Charles assumed ownership of institutions that manage an
               estimated $42 billion in assets on behalf of the kingdom, including
               famous landmarks such as Buckingham Palace, Windsor Castle and
               the Tower of London. However, many of those assets aren’t his to
               sell, as they’re held “in trust” and must be passed on to his
               successors.



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               Upon stepping down, Harry and Markle dropped their HRH titles—
               short for His and Her Royal Highness—and voluntarily repaid more
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               than $3 million to the Sovereign Grant for renovations at Frogmore
               Cottage, their family home in the U.K., which had previously been
               covered by taxpayers. Before marrying Harry in 2018, Forbes
               estimated Markle netted an estimated $2 million from her previous
               career as an actress, most notably as a star in the legal drama Suits
               for seven seasons.




               Harry, Meghan and their baby son, Archie, meet Archbishop Desmond Tutu at the Desmond
               & Leah Tutu ... [+] GETTY IMAGES


               SURPRISING FACT

               Harry and Markle are responsible for covering costs for their own
               security detail, which security experts in 2021 told Forbes could
               reach up to $3 million a year. A British court ruled in July that
               Harry can proceed to challenge a British government committee’s
               decision to rule his family ineligible for police protection during
               visits to the U.K., even if he and Markle foot the bill. The
               Metropolitan Police’s former head of counterterrorism Neil Basu
               revealed in November that Meghan was the target of “disgusting

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               and very real” threats from the far right. “If you’d seen the stuff that
               was written and you were receiving it . . . you would feel under
                                                                                                                                           BETA
               threat all of the time,” Basu told Channel 4.

               TANGENT

               Harry and Markle founded their foundation Archewell in 2020. In
               October, the foundation announced it would distribute $1 million
               in grants to women who “serve as inspiration to young individuals”
               in partnership with the VING Project, which is funded by Groupon
               billionaire Eric Lefkofsky’s family foundation.

               Lisette Voytko contributed reporting.

               FURTHER READING

               Inside ‘The Firm’: How The Royal Family’s $28 Billion Money
               Machine Really Works (Forbes)

               How Much Are Prince Harry And Meghan Markle Worth?
               Surprisingly, Not That Much (Forbes)

               How Rich Is King Charles III? Inside The New Monarch’s
               Outrageous Fortune (Forbes)

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